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                               Exhibit 30



United States of America ex rel. Ven-a-Care of the Florida Keys, Inc v. Abbott Laboratories,
                  Inc.; Dey, Inc., et al.; Boehringer Ingelheim Corp., et al.;
                               Civil Action No. 01-12257-PBS


        Exhibit to the September 22, 2009, Declaration of George B. Henderson, II
       In Support of Plaintiff’s Response to Defendants’ Combined Local Rule 56.1
      Statement of Additional Material Facts Pertinent to the United States’ Motions
                     for Partial Summary Judgment Against Defendants
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Chang, Debbie                                                    April 17, 2009
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                                                                                Page 1
                   UNITED STATES DISTRICT COURT

                 FOR THE DISTRICT OF MASSACHUSETTS

    - - - - - - - - - - - - - - -x

    IN RE:    PHARMACEUTICAL       :   MDL NO. 1456

    INDUSTRY AVERAGE WHOLESALE     :   CIVIL ACTION

    PRICE LITIGATION               :   01-CV-12257-PBS

    THIS DOCUMENT RELATES TO       :

    U.S. ex rel. Ven-a-Care of     :   Judge Patti B. Saris

    the Florida Keys, Inc.         :

         v.                        :

    Abbott Laboratories, Inc.,     :   Chief Magistrate

    No. 06-CV-11337-PBS            :   Judge Marianne B.

    - - - - - - - - - - - - - - -x       Bowler

         (CROSS NOTICED CAPTIONS ON FOLLOWING PAGES)

              Videotaped deposition of DEBBIE CHANG

                            Volume I

                                        Washington, D.C.

                                        Friday, April 17, 2009

                                        9:05 a.m.




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                                                                               Page 2
 1        IN THE SUPERIOR COURT FOR THE STATE OF ALASKA
 2                THIRD JUDICIAL DISTRICT OF ANCHORAGE
 3    - - - - - - - - - - - - - -x
 4    STATE OF ALASKA,                    :
 5                  Plaintiff,            :Case No. 3AN-06-12026CI
 6          vs.                           :
 7    ALPHARMA BRANDED PRODUCTS           :
 8    DIVISION, INC., et al.,             :
 9                  Defendants.           :
10    - - - - - - - - - - - - - -x
11

12    IN THE CIRCUIT COURT OF MONTGOMERY COUNTY, ALABAMA
13

14    In the Matter of:
15    ALABAMA MEDICAID PHARMACEUTICAL                     :Master Docket No.
16    AVERAGE WHOLESALE PRICE LITIGATION                  :CV-2005-219
17    --------------------------------------:
18    This document relates to:                           :
19    State of Alabama v. Abbott                          :
20    Laboratories, Inc.                                  :
21    No. 2005-219.01                                     :
22    --------------------------------------:


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  1   Policy relate specifically to the payment for
  2   prescription drugs?
  3         A.       Not that I remember.            Now, what would
  4   happen is I was involved in a managed care project
  5   looking at how states -- you know, their relationship
  6   between managed care programs and how they run their
  7   managed care programs.            One of those areas was -- was
  8   drug coverage.        And I also helped with the overall
  9   annual state conference.             In the annual state
10    conference, it's very likely that a panel might have
11    been focused on drug coverage.                That's what I
12    remember.
13          Q.       And you were there at the National Academy
14    for State Health Policy from April 2003 through
15    January 2004, right?
16          A.       Correct.
17          Q.       The next, going backwards in time, the
18    next entry on your CV is from June 1999 through March
19    2003 with the Department of Health and Mental Hygiene
20    for the State of Maryland.              Do I have that correct?
21          A.       Yes.
22          Q.       And when you referred to yourself as being


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  1   the director of Medicaid for Maryland, is that the
  2   position you were referring to?
  3         A.       Yes.
  4         Q.       What were your duties as the director of
  5   Medicaid for the State of Maryland?
  6         A.       It was generally to -- to lead and operate
  7   the Medicaid program in the State of Maryland that
  8   also included the SCHIP program.
  9         Q.       As the head of the -- director of Medicaid
10    for the State of Maryland, did your responsibilities
11    include the manner in which the state Medicaid
12    program paid for prescription drugs?
13          A.       Yes.
14          Q.       Do you recall what was your involvement
15    with that aspect of the Maryland Medicaid program
16    during those approximately four years?
17          A.       Yeah.     My major focus when I was at the
18    State of Maryland was on managed care, because the
19    state's managed care program was a little bit in a --
20    let's see how to say it, it was having some problems.
21                   And so my main thing that I first focused
22    on was trying to get the payment system in order to


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  1          A.      What I said was that under the Medicaid
  2   law, there was a provision about access.                    And that I
  3   also made the point that it was -- it was important
  4   that Medicaid beneficiaries have access.                    I also made
  5   the point that Medicaid beneficiaries have different
  6   needs than private pay, so that doesn't necessarily
  7   mean equal access.          And it's going to -- and that's
  8   what I said, which is not exactly what you said.
  9          Q.      Okay.     Well, let's -- I'm much more
10    interested in how you describe it than how I do, so
11    in this statement, though, it's certainly the case,
12    isn't it, that in your experience, state Medicaid
13    administrators will want to account for the concern
14    or the risk that pharmacists might leave the Medicaid
15    program if reimbursement rates were set, for example,
16    too low?
17                   MR. DRAYCOTT:         Objection.
18                   THE WITNESS:         In my experience, what --
19    and should I go ahead and answer?
20                   MR. DRAYCOTT:         You can answer, yes, if you
21    can.
22                   THE WITNESS:         Oh.    Okay.     In my experience


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  1   as a Medicaid director, you have to balance a lot of
  2   different things.          You're trying to balance the cost
  3   of the program with access to the beneficiary, for
  4   the beneficiary of services, together with
  5   provider-related issues, and you've got to balance
  6   all those things.
  7                  BY MR. RIDINGS:
  8         Q.       And all of those considerations go into
  9   setting the reimbursement rate for prescription
10    drugs, don't they?          They have to.
11                   MR. DRAYCOTT:         Objection.
12                   THE WITNESS:         There is federal direction
13    that is very clear.           And so when there is clear
14    federal direction, the other stuff kind of -- I mean,
15    you got to follow the federal laws and federal
16    regulations.        So I just -- so my statement was more
17    about the fact that, that it's a federal/state
18    program that we talked about earlier.                   There are
19    federal rules and regulations that need to be
20    followed.
21                   Within that, there is state flexibility.
22    When you're dealing with the state flexibility, then


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  1   you're trying to balance these different things about
  2   budget, about access for beneficiaries, about
  3   provider participation, you know, other types of
  4   things.     Those are just three.
  5                  BY MR. RIDINGS:
  6         Q.       Now, in this response to CMS, the State of
  7   Washington tells the federal Medicaid agency --
  8   refers to the study showing that pharmacists in
  9   Washington bought drugs at an average discount of
10    17.3 percent from average wholesale price, correct?
11                   MR. DRAYCOTT:         Objection.
12                   BY MR. RIDINGS:
13          Q.       In the first paragraph.
14          A.       What the first paragraph is saying to me
15    is that they are saying that the OIG reported this
16    average discount of 17.3 from the average wholesale
17    price.
18          Q.       And the state is proposing to set the
19    reimbursement rate at AWP minus 14 percent, correct,
20    for single source drugs?
21          A.       Yes.     That's in the second paragraph.
22          Q.       That's right.         So it's clear, isn't it,


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